                   Case 2:20-cv-00887-RAJ Document 93 Filed 08/04/20 Page 1 of 3




 1                                                            THE HONORABLE RICHARD A. JONES
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 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8

 9   BLACK LIVES MATTER SEATTLE-                          No. 2:20-cv-00887-RAJ
     KING COUNTY, ABIE EKENEZAR,
10   SHARON SAKAMOTO, MURACO                              DECLARATION OF DWAYNE LINDE IN
     KYASHNA-TOCHA, ALEXANDER                             SUPPORT OF PLAINTIFFS’ MOTION FOR
11   WOLDEAB, NATHALIE GRAHAM,                            CONTEMPT
     AND ALEXANDRA CHEN,
12
                              Plaintiffs,
13
              v.
14
     CITY OF SEATTLE,
15
                              Defendant.
16

17
              I, Dwayne Linde, declare and state as follows:
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              1.       The information contained in this declaration is true and correct to the best of my
19
     knowledge, and I am of majority age and competent to testify about the matters set forth herein.
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              2.       I'm a 51-year old disabled resident of Capitol Hill. I live at 13th and Mercer. I
21
     spend my days mostly studying computer science and web development online.
22
              3.       I have persistent asthma. I take two to three daily medications to keep breathing. I
23
     also have a hereditary disease called spastic paraparesis, which affects my leg muscles (I use
24
     forearm crutches), my hands and my grip, and my eye muscles (so I cannot get a driver’s
25
     license).
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      LINDE DECL. (No. 2:20-cv-00887-RAJ) –1                                        Perkins Coie LLP
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 1            4.       I completely, 100% support the Black Lives Matter movement. But I have not
 2   been out protesting as much as I would like to because I am afraid that the police violence could
 3   kill me. The chemical weapons the Seattle Police Department has used against protesters could
 4   trigger a deadly asthma attack. I participated in a couple small, calm daytime protests in June,
 5   and made my own one-person protest in front of a police barricade one day. Instead of going out
 6   in the streets, I have tried to support the Black Lives Matter movement by donating to people of
 7   color providing supplies to protesters on the front lines.
 8            5.       I have now suffered hours-long asthma attacks several times in my home because
 9   of the huge volume of chemicals that the Seattle Police Department has released into the air after
10   using chemical weapons against protesters in Capitol Hill—three times in early June and again
11   on July 25, 2020.
12            6.       My asthma is bad enough that I own several inhalers, a nebulizer, respirator
13   masks, and I bought a gas mask last year during wildfire season. This summer, I had to buy a
14   special filter for my respirator to try to filter out the chemicals from the Seattle Police
15   Department’s chemical weapons. The filter I had bought to filter out wildfire smoke doesn’t
16   filter out these chemicals.
17            7.       Whenever there is a large protest planned, I keep an eye on livestreams and
18   Twitter to find out whether the police are using chemical weapons nearby that could hurt me in
19   my home.
20            8.       Saturday, July 25, 2020 was my birthday. My asthma and spastic paraparesis
21   make me at high risk for COVID-19, so this year I stayed home, celebrating my birthday with
22   friends on Zoom.
23            9.       Because I knew there was a large protest scheduled half a mile away, I kept an
24   eye on livestreams and on Twitter. I saw some indications online that there were some chemical
25   weapons being used near Pine and Broadway, but I thought that was far enough away that I
26   didn’t need to close my windows.

      LINDE DECL. (No. 2:20-cv-00887-RAJ) –2                                      Perkins Coie LLP
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 1            10.      Around 7 p.m. or 7:30 p.m., I noticed that the air smelled bitter, like almonds and
 2   burnt hot sauce. My eyes started tearing up, my nose started running, and I started wheezing. I
 3   closed the window right away and took my inhaler right then, then put my gas mask on.
 4            11.      I wheezed for about an hour. During that time, I had to take my emergency rescue
 5   inhaler 3-4 times.
 6            12.      I had planned to go out briefly for ice cream, but I couldn’t because of the
 7   chemicals in the air. I couldn’t even chill and eat pie because of the gas mask. Instead of
 8   celebrating my birthday in any of the quiet ways I had planned, I spent two hours in asthma hell,
 9   struggling to breathe because of the chemicals that wafted in through my window.
10            13.      Because I am vulnerable to COVID-19 and cannot drive because of my eye
11   condition, I can’t go anywhere else to escape the gas.
12

13            Executed this 2nd day of August, 2020 at SEATTLE, WASHINGTON.
14            I declare under penalty of perjury under the laws of the United States and the State of
15   Washington that the foregoing is true and correct.
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17                                                                       By:________________________
18                                                                                      DWAYNE LINDE
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      LINDE DECL. (No. 2:20-cv-00887-RAJ) –3                                      Perkins Coie LLP
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